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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN




 Michael J. House,

                                    Plaintiff(s),
 v.                                                     Case No. 2:19−cv−10586−GAD−SDD
                                                        Hon. Gershwin A. Drain
 Lawrence Culp, et al.,

                                    Defendant(s),



                                 NOTICE OF MOTION HEARING

    You are hereby notified to appear before District Judge Gershwin A. Drain at the United
 States District Court, Theodore Levin U.S. Courthouse, 231 W. Lafayette Boulevard, Detroit,
 Michigan. The following motion(s) are scheduled for hearing:

                 Motion to Dismiss − #12
                 Motion to Dismiss − #13

       • MOTION HEARING: December 2, 2019 at 11:00 AM



                                       Certificate of Service

    I hereby certify that this Notice was electronically filed, and the parties and/or counsel of
 record were served.

                                                By: s/T McGovern
                                                    Case Manager

 Dated: August 2, 2019
